Case 1:16-cr-20471-CMA Document 14 Entered on FLSD Docket 06/17/2016 Page 1 of 16



                                 UNITED STATES DISTRICT CO URT
                                 SO U TH ER N D ISTR IC T O F FLO RID A
                                                                           .


                                 CaseNo.18U.S-C.j-371                     1CF-.
                                                                           f  --9-
                                                                               s
                                                                                 4j
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                                                                                   1
                                                                                   .07,
                                                                                      t
                                                                                      j'
                                                                                   .'Z.(c
                                                                                      7.ui'
                                                                                          j
                                          42 U.S.C.j1320a-7b(b)(1)(A)
                                          18U.S.C.j2                           /osuu lvo   a

                                          18 U.S.C.j982

  UN IT ED ST AT ES O F A M ER IC A

  VS.

  JO SE A VILA and
  M IC H A EL BA H RA M I,

                         Defendants.
                                          /

                                              IN D IC TM E NT

          The Grand Jury chargesthat:

                                     G EN ER AL A LLEG A TIO N S

          Atalltim es m aterialto this Indictm ent,

                                        The M edicare Proaram

                 The M edicare Program ('tM edicare'') was a federally funded program that
  provided free or below-cost health care benefits to certain individuals, primarily the elderly,

  blind,and disabled. The benefsts available under M edicare were governed by federalstatutes

  and regulations.The United StatesDepartmentofHealth and Hum an Services(k'HëlS''),through

  itsagency,theCentersforMedicareandM edicaidServices(-iCM S''),oversaw andadministered
  M edicare, Individuals w ho received benetits under M edicare w ere com m only referred to as

  M edicare ''beneficiaries.''
Case 1:16-cr-20471-CMA Document 14 Entered on FLSD Docket 06/17/2016 Page 2 of 16



                 M edicare was a 'dhealth care benet'
                                                    it program ,''as detsned by Title l8,United

  StatesCode,Section 24(b)and a Federalhealth care program,asdefined by Title42,United

  StatesCode,Section 1320a-7b(f).
                   M edieare program s eovering differtnt types of benetsts were separated into

  different 17rogram k-parts.'' iipartA''of the M edicare program covered eertain eligible home

  healthcarecostsformedicalservicesprovided by ahomehealthagency (''1-IHA''),alsoreferred
  to as a 'dprovider,'to persons w ho already qualif-
                                                    ied for M edicare and who additionally required

  home health servicesbecauseofan illnessordisability thatcatlsed them to be homebound.

                  CM S did not directly pay M edicare Part A elaims subm itled by M edieare-

  certitied HHAS. CM S eontraded with differentprivate companiesto administerthe M edicare

  PartA program throughoutdiflkrentparts ofthe United States. In the State ofFlorida. CM S

  contracted with Palmetto GovernmentBenefitsAdministrators(ispalmetto''). Asadministrator,
  Palmetto wastoreceive,adjudicateand pay claimssubmitted by HHA providersunderthe Pa14
  A program forhome health claim s.Additionally,CM S separately contracted with com paniesin

  orderto review HHA providers'claim sdata. CM S firstcontracted with Tricenturion, a Program

  Safeguard Contractor. Subsequently,on D ecem ber 15,2008,C M S contracted w ith SafeGuard

  Services, a Zone Program lntegrity Contractor. Both Tricenturion and SafeG uard Services

  safegtlarded the M edicare TrustFund by reviewing HHA providers'claims forpotentialfraud.

  w aste,and/orabuse.

                Physicians,clinics and other health care providers, ineluding H HA S,thatprovided

  serviees to M edieare benetieiaries w ere able to apply for and obtain a i'provider num ber.''

  health care provider that received a M edicare provider num ber w as able to t5le claim s with

  M edicare to obtain reim bursem entfor services provided to benetsciaries. A M edicare claim was
Case 1:16-cr-20471-CMA Document 14 Entered on FLSD Docket 06/17/2016 Page 3 of 16



  required to set forth, among other things,the benetsciary's name and M edicare information

  number,the services that were perform ed for the beneficiary,the date thatthe services were

  provided,the costofthe services,and the nam e and provider num ber of the physician or other

  health care providerw ho ordered the services.

                                PartA Coveraae and R eaulations

                                         R eim bursem ents

                'rhe M edicare Pa14 A program reim bursed 100% of the allowable charges

  forparticipating H l1A sproviding hom e health care services only ifthe patientqualitsed forhom e

  health benefits. A patientqualified forhom e health benetits only ifthe patient:

                        wascontined to thehome,also referred to ashomebound'
                                                                           ,

                        wasunderthecare ofa physician who specifically determ ined there wasa

  needtbrhomehealthcareandestablishedthePlan ofCare(ttP.O.C.'');and
                        the determ ining physician signed a certification statem entspecifying that

  thc beneficiary needed interm ittent skilled nursing, physical therapy, speech therapy.

  eontinued need foroecupationaltherapy;the beneficiary was contined to the home;thata POC

  tbr t-urnishing services was established and periodically reviewed; and that the services were

  fum ished while the benetsciary wasunderthe careofthephysician who establishcd the P.O .C.

                                 R ecord K eeping Requirem ents

                M edicare Part A regulations required H H AS providing selwices to M edicare

  patients to maintain complete and accurate medicalreeords retlecting the m edicalassessm ent

  and diagnoses oftheir patients,as w ellas records docum enting the actualtreatm entofpatients to

  w hom services w ere provided and for w hom claim s for reim bursem ent w ere subnnitted by the

  HH A . These m edical records w ere required to be sufficiently com plete to penmit M edicare.
Case 1:16-cr-20471-CMA Document 14 Entered on FLSD Docket 06/17/2016 Page 4 of 16



  through Palm etto and other contractors,to review the appropriateness of M edicare payments

  m ade to the HH A underthe Pal'
                                tA program .

                 Am ong the w ritten records required to docum ent the appropriateness of hom e

  health care elaim s subm itted under

  physieian order, diagnoses, types of serviees/frequency of visits. prognosis/rehab potential.

  functional lim itations/activities pennitted, m edications/treatm ents/ntltritional requirem ents,

  safety measures/discharge plans, goals, and the physician's signature; and ('ii) a signed
  certification statem entby an attendingphysician certifying thatthepatientwasconfsned to hisor

  herhomeand wasin need oftheplanned home health services.

         9.      M edicare Pal4A regulationsrequired providerHHASto maintain medicalrecords

  ofevery visitm ade by a nurse,therapist,and hom e health aide to a beneticial'y. The record ofa

  nurse's visit was required to describe, am ong other things,any signiticant observed signs or

  sym ptom s,any treatm entand drugs adm inistered,any reactions by the patient, any instruction

  provided to the patient and the understanding of the patient, and any changes in the patient-s

  physicalor em otionalcondition. The hom e health nurse,therapist, and aide were required to

  docum entthe hands-on personal care provided to the benetieiary as the services w ere deem ed

  necessary to m aintain the benet-iciary's health or to facilitate treatm ent of the beneticiary's

  primary illnessorinjury. Thesewritten medicalrecordsweregenerallycreated and maintained
  in the form of-tclinicalnotes-'and t-hom e health aide notes/observations.''

                   M edicare regulations allowed M edicare certitsed HHAS to subcontract home

  health care serviees to nursing com panies. therapy staffing services agencies, registries, or

  groups (nursing groups),which would billthe certifsed home health agency. The Medicare
  cel4it5ed H HA would,in turn,billM edicare for allservices rendered to the patient. The H HA 'S
Case 1:16-cr-20471-CMA Document 14 Entered on FLSD Docket 06/17/2016 Page 5 of 16



   professionalsupervision oversubcontracted-forservicesrequired the sam e quatity controlsand

   supervision asofits ow n salaried em ployees.

                           The D efendants.R elated Entities.and C o-c onspirators

          11. W illsand Home Hea1th Agency,lnc.($çW i1lsand'')wasincorporated on orabout
   July 10,2000,and did business in M iam i-D ade County,Florida,purportedly providing hom e

   11ea1th careand physicaltherapy servicesto eligible M edicarebeneficiaries.

                    JEM Home 14ea1th Care,LLC (:t1EM'')wasalimitedliability Floridacorporation
   incop orated on or about M ay 29, 2003, and did business in M iam i-D ade County, Florida,

   purportedly providing hom e health care and physical therapy senices to eligible M edicare

   beneficiaries.

          13.       Healthy Choice HomeHealth ServicesInc.(iwl-lealthy Choice'')wasincorporated
   on or about October 4, 2007,and did business in M iam i-Dade County, Florida,purportedly
                                                                              '   '
   providing hom e health care and physicaltherapy servicest          1   ,       care beneticiaries.
                                                 V 1*P VW VX*L'/ '.
                                                   .   .
                    JO SE AV ILA ,a residentof                County,w as a m edicaldoctor.

                    M ICH AEL BAHRAM I,a resident of M iam i-Dade County, was a medical

   doctor.

          16.       Co-c onspirator K haled Elbeblaw y,a resident of Brow ard County,w as an office

   m anageratW illsand,an ow nerofJEM ,and an owner/m anagerofH ealthy Choice.

          17.       Co-conspirator Etllises Escalona,a residentof M onroe County,w as an owner of

   W illsand and JEM .

          18.       Co-conspirator Cynthia V ilches,a resident of Broward County,w as an owner of

   Healthy Choice.
Case 1:16-cr-20471-CMA Document 14 Entered on FLSD Docket 06/17/2016 Page 6 of 16



                                           CO UN T 1
          C onspiracy to Defraud the United States and R eceive H ealth Care K ickbacks
                                         (18U.S.C.j371)
                 Paragraphs 1 through 18 ofthe G eneralA llegations section of the Indictm entare

   re-alleged and incorporated by reference asthough fully setforth herein.

          2.     From in or around M ay of 2006,and continuing through in or around M arch of

   2012,in M iam i-D ade Cotlnty,in the Southern DistrictofFlorida,and elsewhere,the defendants,

                                         JO SE A V ILA and
                                      M ICH A EL BA H R AM I,

  did willfully,thatis,with the intentto furtherthe objectsofthe conspiracy,and knowingly
   com bine,conspire,confederate, and agree w ith K haled Elbeblaw y, Eulises Escalona, Cynthia

  V ilches,each other,and w ith others know n and unknow n to the G rand Jury,to com lnit certain

  offenses againstthe U nited States,thatis:

                 a.     to defraud the United States by im pairing, im peding, obstructing, and

  defeating through deceitt-uland dishonest m eans,the lawfulgovernm ent functions ofthe U nited

   States Departm ent of Health and Hum an Senrices in its adm inistration and oversight of the

  M edicare program ,in violation of Title 18,U nited States Code,Section 371.
                                                                             ,and to com m itan

  offense againstthe United States,thatis:

                        to knowingly and willfully solidt and receive remuneration, including

  kickbacks and bribes,dired ly and indired ly,overtly and covertly,in cash and in kind,in return

  forrefening an individualto a person forthe furnishing and arranging forthe furnishing ofany

  item and service for which paym entm ay be m ade in whole and in partby a Federalhealth care

  program , that is, M edicare, in violation of Title 42, U nited States Code, Section 1320a-

  7b(b)(1).
          (A).



                                                 6
Case 1:16-cr-20471-CMA Document 14 Entered on FLSD Docket 06/17/2016 Page 7 of 16



                               PU R PO SE O F TH E C O N SPIM C Y

                 It w as a purpose of the conspiracy for JO SE A V ILA , M ICH A EL BAH R AM I

  andtheirco-eonspiratorsto unlawfully enrichthemselvesby,amongotherthings: (1)soliciting
  and receiving kickbacks and bribes in return for referring M edicare beneficiaries to various

  HHASto serve aspatients'
                         ,(2)subm itting and causing the subm ission ofclaims to M edicare tbr
  hom e health servicesthatthe HHASpurportedly provided to those benet-
                                                                      iciaries;and (3)to use
  the M edicare paym entsto pay the kickbacksand furtherthe conspiracy.

                       M ASNER ANP-M VANS O F THE CO NSPIRACY
         The m anner and m eans by w hieh the defendants and their eo-conspirators sought to

  accomplishtheobjectsandpurposeoftheconspiracyincluded.amongotherthings:
                 JO SE AVILA and M ICHAEL BAH RAM I received kickbacks from co-

  conspirators at W illsand, JEM , and Healthy Choice in exchange for retkrring M edicare

  beneficiariesto serveaspatientsatW illsand,JEM and Healthy Choice.

                 JO SE A V ILA , M ICH AE L BA H R AM I, and their co-conspirators caused

  W illsand, JEM :nd Healthy Choice to subm it claims to M edicare for home health services

  purportedly provided to therecruited beneficiaries.

         6.     As a resultofthese claim spJO SE AVILA and M ICHAEL BAH RAM I caused

  M edicare to m ake paym ents to W illsandsJEM ,and H ealthy Choice for hom e health services

  purportedly provided to M edicare benetsciaries,w hich paym ents w ere then used to continue the

  conspiracy.

                                          O V ER T A CT S

         ln furtheranceoftheconspiracy,and to accomplish itsobjectsand purpose,atleastone
  ofthe co-conspirators com m itted and caused to be com m itted in the Southern D istrictofls
                                                                                             'lorida
Case 1:16-cr-20471-CMA Document 14 Entered on FLSD Docket 06/17/2016 Page 8 of 16



  atleasloneofthefollowing overtacts,among others.

                On or about M arch 3, 2010, JOSE AVILA referred patient L.C.to Healthy

  Choice.

                On or about M arch 4,2010, JO SE AVILA retkrred patient I.G .to Healthy

  Choice.

                On or aboutM arch l0,2010,JO SE AVILA retkrred patient S.D.to Healthy

  Choice.

                On or about M arch 10,20l0,M ICHA EL BAHRAM I retkrred patientN .L.lo

  llealthy Choice.

                On or abotlt June l, 20l0, Cynthia V ilches caused Healthy C hoice to subm ita

  claim to M edicare in the approximate am ountof $6,700 for patient N.L., listing M ICHAEL
  BAHRAM Iasthereferring physician.

               On or about M arch 6,2011.M ICHAEL BAH RAM I retkrred patient A .R.to

  H ealthy Choice.

               On or about April l6, 20l1,M IC H A EL BA H R AM I referred patient P.R. to

  Healthy Choice.

        8.     On or about M ay l4, 201l, M IC H A EL BA H RA M I referred patient F.P. to

  Healthy Choice.

               On or about June 24,20l1, M IC H AE L BA H R A M I referred patient S.G . to

  Healthy C hoice.

        10.    O n or about June 24, 2011, JO SE A V ILA referred patient I-.C. to Healthy

  Choice.

               On oraboutJune 27,2011,M IC H A EL BA H RA M I continued to allow his nam e


                                              8
Case 1:16-cr-20471-CMA Document 14 Entered on FLSD Docket 06/17/2016 Page 9 of 16



  to be used asthe ret-erring physician resulting in M ICHAEL BAHRA M Iand Cynthia Vilches

  causing Healthy Choice to subm ita claim to M edicare in theapproxim ate amountof$2.800 for
  patientA .R.

                 O n or about July 1.20l1,M IC H A EL BA H R A M I continued to allow his nam e

  to be used as the referring physician resulting in M ICH A EL BA H RA M I and Cynthia Vilches

  causing Healthy Choice to stlbm ita claim to M edicare in the approxim ate am ountof$2,500 for
  patientP.R.

                 On or aboutJuly 1,2011,M IC H A EL BA H R AM I continued to allow his nam e

  to be used asthe referring physieian resulting in M ICHAEL BAHRAM I and Cynthia Vilches

  causing Healthy Choice to subm ita claim to M edicare in the approximate am ountof$1,200 for
  patientf7.P.

                 On or about A ugust 5, 2011, M ICH AE L BA H R A M I continued to allow his

  nam e to be used as the referring physician resulting in M ICHAEL BAH RAM I and Cynthia

  V ilches causing Healthy Choice to subm it a claim to M edicare in the approxim ate am ount of

  $2,300 forpatientS.G.

                 O n or about A ugust 25,2011,JO SE A V ILA continued to allow his nam e to be

  used asthe referring physician resulting in JOSE AVILA and Cynthia Vilches causing Healthy

  Choice to submitaclaim to M edicareintheapproxim ateam ount()f$2,000 forpatientL.C.

         16.     On oraboutAugust26,2011,Khaled Elbeblawy withdrew approximately $7,500
  in cash from an accounthe held atChase Bank.

                 On or about O ctober 5, 20l1, Cy      -.
                                                        N * hes negotiated a check, num bered
                                          tCr p z.
                                                 'e    L
  1799, in the approxim ate am ount of $7. ,wrlten f'
                                                    rom Healthy Choice's bank account to
  Cynthia V ilches.



                                               9
Case 1:16-cr-20471-CMA Document 14 Entered on FLSD Docket 06/17/2016 Page 10 of 16



           l8.    On oraboutOctober6,20ll,Cynthia Vilcheswithdrew approximately $3,500 in
   cash from an accountshe and Khaled Elbeblaw y held atChase Bank.

                  On oraboutOctober6,201l,Khaled Elbeblawy withdrew approxim ately $3,500
   in cash from an accounthe and Cynthia V ilchesheld atChase Bank.

           20.    On or about O ctober 21, 2011,JO SE A VILA referred patient I.G .to Healthy

   Choice.

           21.    On or aboutN ovem ber 16,2011,JO SE A V ILA referred patientS.D .to H ealthy

   Choice.

                  O n or about Decem ber 31,2011,JO SE A VILA continued to allow his nam e to

   be used as the referring physician resulting in JO SE A V ILA and Cynthia V ilches causing

   Healthy Choice to submita claim to M edicare in the approximate am ountof$1,800 forpatient
   I.G .

           23.    On or about M arch 23,2012,JO SE A VILA continued to allow his nam e to be

   used as the referring physician resulting in JO SE A V ILA and Cynthia V ilches causing H ealthy

   Choiceto subm itaclaim to M edicare in the approxim ate amountof$2,700 forpatientS.D.
           A llin violation ofTitle l8,United States Code,Section 371.

                                             COUNT 2
             R eceipt ofK ickbacks in C onnection w ith a FederalH eaIth C are Program
                                  (42U.S.C.j 1320a-7b(b)(1)(A))
                  Paragraphs 1 through 14 of the GeneralA llegations section ofthe lndictm ent are

    re-alleged and incorporated by reference as though fully setforth herein.

                  O n or aboutJanuary 6,2014,in M iam i-Dade County,in the Southern D istrictof

    Florida,and elsew here,the defendant,

                                            JO SE A V ILA ,


                                                  10
Case 1:16-cr-20471-CMA Document 14 Entered on FLSD Docket 06/17/2016 Page 11 of 16



   did know ingly and w illfully solicit and receive rem uneration, that is, kickbacks and bribes,

   directly and indirectly, overtly and covertly, in cash and in kind, in retul'
                                                                               n for referring an

   individualto a person forthe furnishing and arranging forthe furnishing of any item and service

   for which paym entm ay be m ade in w hole and in partby a federalhealth care program ,that is,

   M edicare,assetforth below :

                       C             A pproxim ate          A pproxim ate
                           ount    D ate ofPa m ent            A m ount

                                    January 6,2014             $1,600


          ln violation ofTitle 42,United StatesCode,Section l320a-7b(b)(1)(A)and Title 18,
   United States Code,Section 2.

                                          FO R FEITU R E
                                          (18U.S.C.j982)
                 The allegations contained in this lndictm ent are re-alleged and incorporated by

   reference as though fully set forth herein for the purpose of alleging forfeiture to the United

   States of Am erica of certain property in w hich the defendants,JO SE A VILA and M IC H A EL

   BA H R AM Ihave an interest.

                 Upon conviction of a violation of Title 18,United States Code,Section 371,as

   alleged in this Indictm ent, the defendants,JO SE A V ILA and M IC H A EL BAH R AM I,shall

   forfeitto the United States any property,l'
                                             ealor personal,that constitutes or is derived,directly

   or indiredly,from gross pl-oceeds traceable to the com m ission of the offense pursuant to Title

   18,United StatesCode,Section 982(a)(7).
                 Thepropertywhich issubjectto forfeitureincludes,butisnotlimitedto,thesum
   ofapproximately $430,000,asto JOSE AVILA and approximately $515,000 asto M ICHAEL
   BAH R AM I,which sum s representthe grossproceedsofthe offenses alleged in the lndictm ent.

                                                 11
Case 1:16-cr-20471-CMA Document 14 Entered on FLSD Docket 06/17/2016 Page 12 of 16



          4.      If any of the property described above,as a result of any act or om ission of the

   defendant'
            .

                          cannotbe located upon the exercise ofdue diligence;

                  b.      has been transferred orsold to,ordeposited with,a third party;

                          hasbeenplacedbeyondthejurisdictionofthecourt;
                  d.      hasbeen substantially dim inished in value;or

                          has been com m ingled w ith other propel'
                                                                  ty w hich cannot be divided

                       w ithoutdifficulty,

   the U nited States ofAm erica shallbe entitled to forfeiture ofsubstitute property pursuantto Title

   21,United StatesCode,Section 8531),asincorporatedbyTitle 18,UnitedStatesCode,Section
   982(b)(l).
Case 1:16-cr-20471-CMA Document 14 Entered on FLSD Docket 06/17/2016 Page 13 of 16



          AlIpursuantto Title 18,United StatesCode,Section 982(a)(7),and the proceduresset
   forth in Title 21,U nited States Code, Section 853,m ade applicable by Title 18, U nited States

   CodeSection982(b)(1).
                                                            A TR UE BILL



                                                                           '
                                                                     .
                                                            f'oREp Rsox

    (
   W 1 REDO A .FERRER
   UN ITED S'
            I'A TES A TTO RN EY



           >                .
   J -JA G O BEN A ,D EPUTY CH IEF
   RIM IN A L DIV ISION ,FRA UD SECTION
  U .S.DEPA RTM EN T OF JU STIC E



                          t'
    A S N TH R.SRID HA RA N
  TRIA L A TTO RN EY
  CRIM IN A L D IV ISIO N ,FR AU D SECTIO N
  U .S.DEPA RTM EN T OF JU STICE
                                               UNITED STATES DISTRICT COURT
Case 1:16-cr-20471-CMA Document 14 Entered
                             SOUTHERN DISTRICTon
                                               OFFLSD
                                                 FLORIDADocket 06/17/2016 Page 14 of 16

UNITED STATES OFAM ERICA                            CASE NO.
V5.
                                                    CERTIFICATE O F TRIAL ATTO RNEY*
Jose Avila and M ichaelBahram i,
                         Defendants.
                                           /        superseding Case Inform ation:


CourtDivision-
             .(Sel
                 ectOne)                            New Defendantts)                   Yes          No
                                                    NumberofNew Defendants
  X     M iam i             Key W est               Totalnum berofcounts
        FTL                 W PB           FTP
        Ido hereby certify that:
                  Ihave carefully considered the allegationsofthe indictment,the num berofdefendants,the numberof
                  probablewitnessesandthe legalcomplexitiesofthe Indictment/lnformation attached hereto.
                  Iam aware thatthe information supplied on thisstatem entwillbe relied upon by theJudgesofthisCourtin
                  setting theircalendars and scheduling crim inaltrials underthe mandate ofthe SpeedyTrialAct,Title 28
                  U.S.C.Section 3161.

                  Interpreter:   (YesorNo)           Yes
                  ListIanguageand/ordialect          Spanish
       4.         Thiscase w illtake 10 daysforthe partiesto try.
                  Please check appropriate category and type ofoffense Iisted below:

                  (Checkonlyone)
                  0 to 5 days                                                Petty
                  6 to 10 days                         X                     M inor
                  11 to 20 days                                              M isdem.
                  21 to 60 days                                              Felony             X
                  61 daysand over

       6.         HasthiscasebeenpreviouslyfiledinthisDistrictCourt? (YesorNo)                NO
       Ifyes:
       Judge:                                               Case No.
       (Attachcopyofdispositive order)
       Hasacomplaintbeenfiled in thismatter?                (YesorNo)           YES
        I
        fyes:
        MagistrateCase No.                          16-mj-28O6-McAIiIey
        Related M iscellaneousnum bers:
        Defendantts)infederalcustodyasof                     1
        Defendantts)instatecustodyasof
        Rule 20 from the                                     Dlstrlcto

       Isthisapotentialdeathpenaltycase?(YesorNo)                No
                  Doesthiscaseoriginatefrom a m atterpending in the Northern Region oftheU.S.Attorney'sOffice priorto
                  October14,2003?                 Yes      X      No

       8.         Does thi
                         s case originate from a m atterpending in the CentralRegion ofthe U.S.Attorney'
                                                                                                       s Office priorto
                  Septem ber1,20077                 Yes       X      No


                                                                            1           .-
                                                              SA       ID ARAN
                                                            DOJ iaIAttorney
                                                            CourtID No.A5501204

*penaltySheetts)attached                                                                                    REV4/8/08
Case 1:16-cr-20471-CMA Document 14 Entered on FLSD Docket 06/17/2016 Page 15 of 16



                            UN ITED STA TES DIST RICT C O U RT
                            SO UTH ERN D ISTRICT O F FLO RIDA

                                       PENA LTY SH EET

   Defendant'sN am e: JO SE AV ILA

   Case No:

   Count#:1

   Conspiracv to Defraud the U nited States and Receive Health Care Kickbacks

   Title 18,United StatesCode.Section 371

   *M ax.Penalty:       Five(5)years'imprisonment
   Count#:2

   ReceiptofK ickbacks in Connection w ith a FederalHea1th Care Program

   Title 42,United StatesCode,Section 1320a-7b(b)(1)(A)

   *M ax.Penalty:       Five(5)years'simprisonment
   Count#:




   *M ax.Penalty:

   Counts#:




   *M ax.Penalty:




    AR efersonly to possible term ofincarceration,doesnotinclude possible fines,restitution,
            specialassessm ents,parole term s,or forfeituresthat m ay be applicable.
Case 1:16-cr-20471-CMA Document 14 Entered on FLSD Docket 06/17/2016 Page 16 of 16



                               U N IT ED STA TES D ISTR ICT CO UR T
                               SO U TH E RN DIST RICT O F FLO RID A

                                          PEN A LTY SH EET

    Defendant's N am e:M IC H A EL BA H R AM I

    Case No:

   Count#:1

    Conspiracv toDefratldthe United Statesand ReceiveHea1th CareKickbacks



    *M ax.Penalty:        Five(5)years'imprisonment
   Count#:




    *M ax.Penalty:

   Count#:




    *M ax.Penalty:

    Cotlnts#:




   '
    âM ax.Penalty:




       *ltefers only to possible term ofincarceration,does notinclude possible fines,restitution,
                specialassessm ents,parole term s,or forfeituresthatm ay be applicable.
